    Case: 1:21-cv-06082 Document #: 33 Filed: 12/13/21 Page 1 of 4 PageID #:439




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

GROUPON, INC.                                        )
                                                     )
                       Plaintiff,                    )
                                                     )
    v.                                               ) Case No. 21-cv-06082
                                                     )
SUNG SHIN,                                           ) Honorable Judge Charles P. Kocoras
                                                     )
                      Defendant.                     )

PLAINTIFF GROUPON, INC.’S MOTION FOR LEAVE TO SEAL PORTIONS OF ITS
              MOTION FOR PRELIMINARY INJUNCTION

         Plaintiff Groupon Inc. respectfully moves for an Order sealing certain portions of its

Motion for Preliminary Injunction, and states the following in support thereof:

         1.     On November 12, 2021, Plaintiff filed its Complaint and Emergency Motion for

Temporary Restraining Order against Defendant Sung Shin to immediately enjoin him from

violating his contractual obligations to Plaintiff and from misappropriating Plaintiff’s trade secret

information. (Dkt. Nos. 1, 4.)

         2.     On November 16, 2021, the Court granted Plaintiff’s Emergency Motion for

Temporary Restraining Order, and then extended the Temporary Restraining Order to December

14, 2021 following a telephonic hearing. (Dkt. Nos. 11, 27).

         3.     On December 2, 2021, the Court entered the Parties’ Agreed Confidentiality

Order, which allows the Parties to designate certain material as “CONFIDENTIAL – SUBJECT

TO PROTECTIVE ORDER” and “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

– ATTORNEYS’ EYES ONLY.”

         4.     In expedited discovery, the Parties produced documents designated as

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” and “CONFIDENTIAL –
    Case: 1:21-cv-06082 Document #: 33 Filed: 12/13/21 Page 2 of 4 PageID #:440




SUBJECT TO PROTECTIVE ORDER – ATTORNEYS’ EYES ONLY” under the Agreed

Confidentiality Order.   In response to a subpoena duces tecum, Yelp Inc. also produced

documents and designated certain documents as “CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER” and “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER –

ATTORNEYS’ EYES ONLY” under the Agreed Confidentiality Order.

       5.     On December 7, 2021, the Court entered an Order tentatively scheduling a

hearing on the assumption Plaintiff would file a motion for preliminary injunction against

Defendant Sung Shin prior to the December 14, 2021 hearing. (Dkt. No. 32.)

       6.     Plaintiff’s Motion for Preliminary Injunction, filed contemporaneous to this

Motion, references and attaches certain of the Parties’, and non-party Yelp’s, documents

designated   “CONFIDENTIAL           –   SUBJECT       TO    PROTECTIVE         ORDER”       and

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER – ATTORNEYS’ EYES ONLY”.

The documents containing these designations are limited to four documents. These documents

are Exhibits B, C, D, and E – the Deposition of Sung Shin, the Deposition of Simon Goodall, the

Deposition of Vivek Patel, and an April 1, 2021 email from a Yelp employee, attached to the

Motion for Preliminary Injunction.

       7.     These documents contain sensitive and confidential information pertaining to

Plaintiff’s as well as Yelp’s business operations. Consistent with the Agreed Confidentiality

Order, Plaintiff seeks to file its Motion for Preliminary Injunction removing these exhibits, and

redacting those portions of the Motion for Preliminary Injunction referencing such confidential

information. See Jepson, Inc. v. Makita Elec. Works, 30 F.3d 854, 861 n.3 (7th Cir. 1994)

(granting Defendant’s motion to file a deposition under seal); Sun Chenyan v. P'ships &

Unincorporated Ass'ns Identified on Schedule "A", No. 20 C 221, 2021 WL 5002610, at *2




                                               -2-
    Case: 1:21-cv-06082 Document #: 33 Filed: 12/13/21 Page 3 of 4 PageID #:441




(N.D. Ill. Mar. 3, 2021) (granting Defendant’s motion to file portions of its motion to dismiss

under seal).

       8.      While the Agreed Confidentiality Order allows for the designation of such

documents, the Parties are required to follow the Local Rules of this Court with respect to filing

any designated documents or information under seal, pursuant to Local Rule 26.2. As such,

Plaintiff requests an Order granting the sealing of certain portions of its Motion.

       9.      In addition, Plaintiff requests guidance from the Court as to the mechanics and

protocol for introducing such documents as exhibits at the preliminary injunction hearing on

December 14, 2021, as each Party, and non-party Yelp, has identified exhibits on their respective

exhibit lists that are designated as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”

and “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER – ATTORNEYS’ EYES

ONLY”.

       WHEREFORE, Plaintiff Groupon, Inc. respectfully requests this Court enter an Order

sealing certain portions of its Motion for Preliminary Injunction.

Dated: December 13, 2021                               Respectfully submitted,


                                                       /s/ Kevin M. Cloutier
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                                                 -3-
    Case: 1:21-cv-06082 Document #: 33 Filed: 12/13/21 Page 4 of 4 PageID #:442




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 13, 2021, a copy of the foregoing was

filed with the Court’s CM/ECF system, which will serve all counsel of record.




                                                  /s/ Kevin M. Cloutier
                                                  Kevin M. Cloutier
